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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

TERRETTA WEBB,

 

Plaintiff,

vs. No.: l:04-CV-1288-T/An

STANLEY JONES REALTY, [NC.J

Det`endant.

 

-BRBB@.'SEB AMENDED RULE 16(b) JOINT SCHEDULING ()RDERl

 

Pursuant to FEDERAL RULES oF CiviL PRoCEDURF. (F.R.C.P.) 26({`) and 16(b), Terretca Webb
(“Plaintiff”) and Stanley Jones Realty, lnc. (“Defendant”) (collectively “parties”) show the Court as
follows:

JOINT SCHEDULING CONFERENCE:

The parties held a conference by telephone on August 2, 2005 and the individuals
participating Were:

(a) l`or Plaintiff: Stephen I~I. Biller, Esq.
(b) for Defendant: l\/lark E. Stamelos, Esq.
INITIAL DISCLOSURES (F.R.C.P. 26(a)(l )):

Initial Disclosures have already been exchanged

 

l This proposed Amended Rule lo(b) loint Schedu|ing Order is submitted pursuant to the Court’s .]uly 6, 2005 Order
granting Defendant’s Motion for New Scheduling Conference due to the withdraw of Defendant’$ former counsel,

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This document entered on lthe docket sheet In compliance

with Ftule 58 and,'or_79 (a) FRCP on M_

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JOINING PARTIES:
(a) for Plaintiff: August 31, 2005
(b) for Dei`endant: August 3 l, 2005
AMENDING PLEADINGS:
(a) for Plaintiff: August 3 l , 2005
(b) for Defendant: August 31, 2005

COMPLETING ALL DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS :

Discovery will be completed by: October 31, 2005
(b) EXPERT DISCLOSURE (F.R.C.P. 26(a)(2)):

(i) PlaintifF s Experts: No later than August 31, 2005

(ii) Defendant’s Experts: No later than Septernber 30, 2005

(iii) Supplementation under F.R.C.P. 26(e): 10 days after Defendant’s

disclosure
(c) DEPOSITION OF EXPERTS: .lanuary 9, 2006
FILING DISPOSITIVE MOTIONS: December 6, 2005

FINAL LIS'l` OF WITNESSES ANI) EXHIBITS (F.R.C.P. 26(a)(3)):
(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial
Parties shall have 10 days after service ol`f`inal list of witnesses and exhibits to tile

objections under Rule 26(a)(3).

 

Kathleen l-lenderson, who was activated for military duty.

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The trial of this matter is expected to last 2 1/2 days and is SET for JURY TRIAL on
MONDAY, MARCH 27, 2006 at 9:20 a.m. A Joint Pretrial Order is due on FRIDAY, MARCH
17, 2006. ln the event the parties are unable to agree on a Joint Pretrial Order, the parties must notify
the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production, and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for the
completion of discovery. For example, if F.R.C.P. allows thirty (30) days for a party to respond, then
the discovery must be submitted at least thirty (30) days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within
thirty (30) days of the default or service of the response, answer, or objection which is the subject of
the motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response or answer
shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A), and (a)(l)(B) all motions,
except motions pursuant to F.R.C.P. 12, 56, 59, and 60, shall be accompanied by a proposed Order
and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is

necessary, it shall file a motion for leave to tile a reply accompanied by a memorandum setting forth

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the reasons for which a reply is required

The parties may consent to trial before the magistrate judge 'l`he magistrate judge can
normally provide the parties with a definite trial date that will not be continued unless a continuance
is agreed to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties at this time decline to consent to a trial before the magistrate judge.

T he parties are encouraged to engage in Coart-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order Will not be modified or extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED )STATES MAGISTRATE }UDGE

Date: JM} /2_) ZOM/

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APPROVED FOR ENTRY BY;

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%u~e 91 nw D/ 021/wl S'>K
Stephen H. Biller, Esq. TN #77b¢i mL%
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Counsel for Plaintiff

liM,Lia»b\

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King & Ballow

1100 Union Street Plaza

315 Union Street

Nashville, Tennessee 37201

(615) 259-3456

Counsel for Stanley J ones Realty, Inc.

CERTIFICATE OF SERVICE

The undgsigned hereby certifies that a copy of the foregoing Scheduling Order was duly
served this ftl day of August 2005 via postage first class U.S. Mail addressed as follows:

Stephen H. Biller, Esquire

The Bogatin Law Firm

1661 International Place Drive, Suite 300
Memphis, Tennessee 38120

iowa

Mark E. Stamelos

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CV-01288 Was distributed by faX, mail, or direct printing on

August 15, 2005 to the parties listed

 

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1\/1emphis7 TN 38120

Honorable .l ames Todd
US DISTRICT COURT

